                     UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
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In Re:

JOSEPH G. DUMOUCHELLE and
MELINDA A. ADDUCI ,                             Ch. 11
                                                Case No. 19-54531-pjs
Debtors.                                        Hon. Phillip Shefferly
______________________________________________________________________________


         APPEARANCE AS COUNSEL FOR CREDITOR THOMAS RITTER
                   AND REQUEST FOR SERVICE OF PAPERS
______________________________________________________________________________

         Bryan D. Marcus, P.C. hereby enters its appearance as counsel for Creditor Thomas
Ritter

in the present case and requests service of all papers filed in the matter.


                                               /S/ Bryan Marcus
                                               ________________________________
                                               Bryan Marcus (P47125)
                                               Bryan D. Marcus, P.C.
                                               29488 Woodward Ave.
                                               Suite 451
                                               Royal Oak, MI 48073
                                               (248) 320-1071
                                               Attorneys for Creditor Thomas Ritter




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